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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,


Plaintiff,

v.

JOHN McCRAY, Jr.,
and EUGENE FALLS,


Defendants.                                                  No. 05-CR-30027-DRH

                                       ORDER


HERNDON, District Judge:

              Now before the Court is motion to continue trial of McCray Jr. (Doc. 40).

The Court being fully advised in the premises finds that McCray Jr., needs additional

time to conduct plea negotiations.       The Government does not object to the

continuance. In addition, the Court finds that pursuant to 18 U.S.C. §

3161(h)(8)(A), the ends of justice served by the granting of such continuance

outweigh the best interests of the public and the Defendants McCray Jr. and Falls

in a speedy trial. Therefore, the Court GRANTS motion to continue trial of McCray

Jr. (Doc. 40). The Court CONTINUES the jury trial scheduled for May 16, 2005 at

9:00 a.m. to Tuesday, July 5, 2005 at 9:00 a.m. The time from the date the

original motion was filed, May 11, 2005, until the date to which the trial is


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rescheduled, July 5, 2005, is excludable time for the purposes of speedy trial. The

parties shall notify the Court if a change of plea hearing is necessary.

             IT IS SO ORDERED.

             Signed this 12th day of May, 2005.



                                                     /s/ David RHerndon
                                                     United States District Judge




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